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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

Bracha Cab Corp, et al.,                                                Chapter 11

                                                                        Case No.: 17-46613-nhl
                                    Debtors.                            Jointly Administered
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                      ORDER AUTHORIZING RETENTION OF
                       ROSENBERG, MUSSO & WEINER AS
               ATTORNEYS FOR DEBTORS AND DEBTORS IN POSSESSION

        Upon the application of the above-named debtors and debtors in possession (the “Debtors”)

and the affidavit of Esma Elberg seeking an order authorizing the retention of Rosenberg, Musso

& Weiner (“RM&W”) as counsel for the Debtors, and the affidavit of Bruce Weiner, a member or

RM&W, and it appearing that (a) RM&W are attorneys duly admitted to practice before this Court,

(b) RM&W represent no interest adverse to the Debtors or their estates, (c) RM&W are

disinterested parties as that term is defined in 11 U.S.C. § 101(14), and (d) RM&W’s employment

is necessary and would be in the best interests of the estates, it is hereby

        ORDERED, that the Debtors hereby are authorized to retain RM&W as attorneys to

represent them as debtors and debtors in possession effective December 8, 2017 in the within cases

under Chapter 11 of the Bankruptcy Code; and it is further

        ORDERED, that RM&W shall comply with the United States Trustee’s Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

U.S.C. § 330 including maintaining contemporaneous records of all time expended in

representation of the Debtors; and it is further
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       ORDERED, that all compensation paid and reimbursement of expenses incurred by

RM&W shall be subject to approval by this Court upon notice and a hearing pursuant to 11 U.S.C.

Sections 330 and 331; and it is further

       ORDERED, that ten business days prior to any increases in RM&W’s rates for any

individual employed by RM&W and retained by the debtors in possession pursuant to court order,

RM&W shall file a supplemental affidavit with the Court setting forth the basis for the requested

rate increase to 11 U.S.C. § 330 (a) (3)(F). Parties in interest, including the United States Trustee,

retain all rights to object to or otherwise respond to any rate increase on any and all grounds,

including, but not limited to, the reasonable standard under 11 U.S.C. § 330.



No Objection:

Office of the United States Trustee

Dated: March 28, 2018


By:    /s/ Nazar Khodorovsky

       Nazar Khodorovsky, Trial Attorney




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 Dated: April 12, 2018                                               Nancy Hershey Lord
        Brooklyn, New York                                      United States Bankruptcy Judge
